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                            UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

     DANCO, INC.                                  §
                                                  §
                          Plaintiff,              §
                                                  §     CIVIL ACTION NO.
     vs.                                          §     5:16-CV-0073-JRG-CMC
                                                  §
                                                  §
     FLUIDMASTER, INC.
                                                  §
                                                  §
                          Defendant.              §


                        DEFENDANT FLUIDMASTER, INC.’S
                   NOTICE OF PETITION FOR WRIT OF MANDAMUS

            Defendant Fluidmaster, Inc. (“Fluidmaster”) hereby provides notice to this Court

     that on November 7, 2017, Fluidmaster filed a Petition for Writ of Mandamus

     (“Petition”) requesting transfer to the Central District of California.     See In re

     Fluidmaster, Inc., Case No. 18-0109 (Fed. Cir.). The Petition seeks relief from this

     Court’s Memorandum Opinion and Order Denying Fluidmaster’s Motion to Dismiss or in

     the Alternative Transfer Venue. See ECF No. 124.



     Dated November 8, 2017             Respectfully submitted,

                                        By:     /s/ Richard P. Sybert
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                                                                 Counsel for Defendant Fluidmaster, Inc.



                                                 CERTIFICATE OF SERVICE
                             I hereby certify that all counsel of record who are deemed to have consented to

                      electronic service are being served with a copy of this document via the Court’s CM/ECF

                      system per Local Rule CV-5(a)(3) on November 8, 2017. Any other counsel will be

                      served by electronic mail per Local Rule CV-5(d).



                                                                          /s/ Richard P. Sybert
                                                                          Richard P. Sybert




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